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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


  TBV PRODUCTIONS, LLC, HUNTER                   CIV. NO. 19-00171 JAO-RT
  KILLER PRODUCTIONS, INC.,

                      Plaintiffs,                ORDER DENYING PLAINTIFFS’
                                                 MOTION FOR ORDER
        vs.                                      PERMITTING CLERK TO
                                                 PERFORM FOREIGN MAILING
  APTOIDE S.A., JOHN DOES 1-10,

                      Defendants.



               ORDER DENYING PLAINTIFFS’ MOTION FOR ORDER
              PERMITTING CLERK TO PERFORM FOREIGN MAILING

       Before the Court is Plaintiffs TBV Productions, LLC and Hunter Killer

 Productions, Inc.’s (collectively “Plaintiffs”) Motion for Order Permitting Clerk to

 Perform Foreign Mailing, filed on April 30, 2019 (“Motion”). ECF No. 16. The

 Court elects to decide the Motion without a hearing pursuant to Rule 7.2(d) of the

 Local Rules of Practice for the United States District Court for the District of

 Hawaii.

       The Court, having carefully reviewed the Motion, records in this case, and

 applicable law, DENIES the Motion. Although the Convention on the Service

 Abroad of Judicial and Extrajudicial Documents in Civil and Commercial Matters

 (“Hague Convention”) does not prohibit service by international mail, service by

 such means in this case is proper only when authorized by the Federal Rules of

 Civil Procedure (“FRCP”).
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       The Motion is DENIED because Plaintiffs failed to show that FRCP 4(f)(2)

 is applicable. However, even if FRCP 4(f)(2) applies, Plaintiffs failed to show that

 service by international mail is not prohibited by Portuguese law.

                                   BACKGROUND

       On April 22, 2019, Plaintiffs filed an Affidavit Requesting Foreign Mailing

 (“Affidavit”). ECF No. 13. The Affidavit requested that the Clerk of Court mail a

 copy of the Summons, Complaint, and Rule 16 Scheduling Order, and a

 “Portuguese machine translation of these three documents,” 1 to Defendant

 Aptoide S.A. in Portugal to effect service on Defendant. Id. Plaintiffs’ counsel

 claimed that service by mail was authorized by Portuguese law. Id. In support,

 Plaintiffs cited to the U.S. Department of State’s website.

       On April 26, 2019, District Court Judge Otake’s entering order held that the

 Affidavit failed to provide legitimate authority that service by mail is authorized by

 Portuguese law. ECF No. 15. The website Plaintiffs cited explicitly states:

 “THIS INFORMATION IS PROVIDED FOR GENERAL INFORMATION ONLY

 AND MAY NOT BE TOTALLY ACCURATE IN A SPECIFIC CASE. QUESTIONS

 INVOLVING INTERPRETATION OF SPECIFIC FOREIGN LAWS SHOULD BE

 ADDRESSED TO THE APPROPRIATE FOREIGN AUTHORITIES OR

 FOREIGN COUNSEL.” Judge Otake noted that Plaintiffs failed to explain why


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         It is unclear whether Plaintiffs are requesting their documents to be
 translated into Portuguese. Although not part of the record, Plaintiffs have
 submitted to the clerk’s office documents that appear to be written in a foreign
 language. Thus, the Court will not construe Plaintiffs’ references to translated
 documents as a request for their documents to be translated.
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 they did not comply with the Hague Convention or why service could not be

 affected by means established by the Hague Convention. Id.

       On April 26, 2019, Plaintiffs filed the instant Motion.

                                     DISCUSSION

       It is Plaintiffs’ responsibility to serve the summons and complaint within the

 timeframe allowed by Rule 4(m). Fed. R. Civ. P. 4(c)(1). Here, Plaintiffs request

 that the Clerk of Court serve the Defendants in Portugal by international mail.

       Plaintiffs argue that the Ninth Circuit allows service by international mail as

 long as “the receiving state has not objected to service by mail[ ] and [that]

 service by mail is authorized under otherwise applicable laws.” Motion, p. 1

 (citing Water Splash, Inc. v. Menon, 137 S. Ct. 1504, 1507 (2017)). Portugal is a

 signatory to the Hague Convention and has not objected to Article 10(a) of the

 Hague Convention. Convention Done at the Hague Nov. 15, 1965, T.I.A.S. No.

 6638 (Feb. 10, 1969). In relevant part, Article 10(a) of the Hague Convention

 states: “Provided the State of destination does not object, the present Convention

 shall not interfere with . . . the freedom to send judicial documents, by postal

 channels, directly to persons abroad . . . ” Id. at Chapter I, Art. 10(a). However,

 the Ninth Circuit has held that “Article 10(a) does not itself affirmatively

 authorize international mail service. It merely provides that the Convention

 ‘shall not interfere with’ the ‘freedom’ to use postal channels if the ‘State of

 destination’ does not object to their use.” Brockmeyer v. May, 383 F.3d 798,

 803-04 (9th Cir. 2004) (emphasis added).


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       Thus, “in order for the postal channel to be utilized, it is necessary that it

 be authorized by the law of the forum state.” Id. (emphasis in original) (citations

 omitted). The Ninth Circuit has thus concluded that the Courts must “look

 outside the Hague Convention for affirmative authorization of the international

 mail service that is merely not forbidden by Article 10(a). Any affirmative

 authorization of service by international mail, and any requirements as to how

 that service is to be accomplished, must come from the law of the forum in which

 the suit is filed” Id. In this case, the Court must look to the FRCP to determine

 service requirements.

       According to Plaintiffs’ Complaint, Defendant Aptoide S.A. is an entity

 analogous to a corporation, organized under the laws of Portugal. ECF No. 1.

 Thus, service of Defendant, a corporation, is governed by Rule 4(h), which states

 that service on a corporation is made by following Rule 4(f):

       (h) Serving a Corporation, Partnership, or Association. Unless
       federal law provides otherwise or the defendant's waiver has been
       filed, a domestic or foreign corporation, or a partnership or other
       unincorporated association that is subject to suit under a common
       name, must be served:

       ...

              (2) at a place not within any judicial district of the United States,
              in any manner prescribed by Rule 4(f) for serving an individual,
              except personal delivery under (f)(2)(C)(i).

 FRCP 4(h) (emphasis added). Thus, Defendant should be served by following

 Rule 4(f):

       (f) Serving an Individual in a Foreign Country. Unless federal law
       provides otherwise, an individual—other than a minor, an incompetent

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       person, or a person whose waiver has been filed—may be served at
       a place not within any judicial district of the United States:

           (1) by any internationally agreed means of service that is
               reasonably calculated to give notice, such as those authorized
               by the Hague Convention on the Service Abroad of Judicial
               and Extrajudicial Documents;

           (2) if there is no internationally agreed means, or if an
               international agreement allows but does not specify other
               means, by a method that is reasonably calculated to give
               notice:

                (A) as prescribed by the foreign country's law for service in
                    that country in an action in its courts of general
                    jurisdiction;

                (B) as the foreign authority directs in response to a letter
                    rogatory or letter of request; or

                (C) unless prohibited by the foreign country's law, by:

                     (i) delivering a copy of the summons and of the
                         complaint to the individual personally; or

                     (ii) using any form of mail that the clerk addresses and
                          sends to the individual and that requires a signed
                          receipt; or

           (3) by other means not prohibited by international agreement, as
               the court orders.

 FRCP 4(f)(1)-(3). Rule 4(f) provides three different ways in which Defendant may

 be served: (f)(1), (f)(2) or (f)(3). Plaintiffs specifically seek to serve Defendant

 under Rule 4(f)(2). The options under Rule 4(f)(2) are available only “if there is

 no internationally agreed means, or if an international agreement allows but does

 not specify other means.” FRCP 4(f)(2).




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       The Hague Convention provides an internationally agreed means of

 service by requiring each signatory state, including Portugal, to designate a

 Central Authority to receive and process service requests from other signatory

 states. Id. at Chapter I, Art. 2-6. Thus, the only way FRCP 4(f)(2) may apply is

 that the Hague Convention must “not specify other means” of service. FRCP

 4(f)(2). Plaintiffs have not dealt with this issue. Plaintiffs have not addressed

 why they should not be required to effect service through Portugal’s Central

 Authority as required by the Hague Convention.

       In addition, Rule 4(f)(2)(C) requires that the method of service requested is

 not “prohibited by the foreign country’s law.” FRCP 4(f)(2)(C). In support,

 Plaintiffs cite to the Hague Conference on Private International Law website.

 However, the website states: “Practical Information: The following information

 was provided by the relevant State authorities or was obtained from the replies to

 the Service Convention Questionnaires.” The warning does not explain which

 State authorities were consulted, who responded to the Service Convention

 Questionnaires, and provides no assurance that the information is accurate.

 Thus, citing the website does not satisfy Plaintiffs’ obligation to demonstrate that

 service upon an individual by international mail is not “prohibited by the foreign

 country’s law.” FRCP 4(f)(2)(C); see ECF No. 15.




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        Accordingly, the Court DENIES Plaintiffs’ Motion.

        IT IS SO ORDERED.

        DATED: Honolulu, Hawaii, May 31, 2019.




                                               /s/ Rom A. Trader
                                               Rom A. Trader
                                               United States Magistrate Judge




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